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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE               Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988             www.ca6.uscourts.gov




                                                 Filed: June 21, 2021




Ms. Kinikia D. Essix
Eastern District of Michigan at Detroit
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                     Re: Case No. 20-1137, USA v. Paul Nicoletti
                         Originating Case No. : 2:15-cr-20382-1

Dear Clerk,

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Maria T. Welker
                                                 Case Manager
                                                 Direct Dial No. 513-564-7025

cc: Mr. Donald Capparella
    Mr. Craig A. Weier
    Mr. Tyler Chance Yarbro

Enclosure
             Case: 20-1137 Document:
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 20-1137
                                           ________________

                                                                      Filed: June 21, 2021

UNITED STATES OF AMERICA

                Plaintiff - Appellee

v.

PAUL J. NICOLETTI

                Defendant - Appellant



                                            MANDATE

     Pursuant to the court's disposition that was filed 03/18/2021 the mandate for this case hereby

issues today.



 COSTS: None
